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FILED

UNITED STATE DISTRICT COURT FOR THE : AUG 17 2005
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION RN
UNITED STATES OF AMERICA, } Case No.: CR 05-M34-03 CLERK
Plaintiff, }
vs. } MOTION FOR DISCLOSURE OF OTHER

KRISTEN LYNNE SCHULZ, BENJAMIN BAD ACTS EVIDENCE

MOON, AND STEVEN CRAIG
ALEXANDER Defendant

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Comes now the Defendant, Steven Craig Alexander, by and through his attorney,
Gary W. Conklin, and respectfully moves the Court for its Order directing the
Government to disclose to Defendant whether it intends to offer at trial any evidence of

other crime, wrongs, or bad acts:
1. A brief description of the nature of the crime, wrong or bad act.

2. The date and place of the commission of such act.

3. The names, addresses and telephone numbers of all of the witnesses who will
testify to such act.
4. Any tangible evidence which the Government intends to use in connection

with proving such act.
5. The purpose for which such evidence will be offered under Fed.R.Evid.

In the event the Government does intend to offer evidence under Fed.R.Evid.
404(b), the Defendant’s Response to the Motion may not come prior to the deadline set
for the filing of all of Defendant's Pre-Trial Motions. Therefore, the Defendant reserves
the right to file a Suppression Motion or Motion in Limine regarding any evidence

divulged by the Government in response to this Motion.
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This Motion is made pursuant to the spirit of Fed.R.Crim.P. 2 and Fed.R.Crim.P.
12, so that the Defendant may adequately prepare objections to such evidence, and
Memoranda of Law on the points of law raises, prior to the time set for trial herein, and to
minimize the potential disruption of the trial to determine questions of admissibility of
evidence.

Dated this 17" day of August 2005.

Defendant oot Craig Alexander
300 N. Dakota Ave. # 608

Sioux Falls SD 57103
605-978-0036

605-978-0064 FAX

CERTIFICATE OF SERVICE

This is to certify that on this 17" day of August 2005, by regular United States
Mail, postage prepaid, first class, I mailed a true and correct copy of the above MOTION
FOR DISCLOSURE OF OTHER BAD ACTS EVIDENCE to

Mr. John Haak, Attorney

Office of United States Attorney
PO Box 5073

Sioux Falls SD 57117-5073

Mr. James A. Eirinberg, Attorney
300 N. Dakota Ave. # 509
Sioux Falls, SD 57104

Mr. Michael W. Hanson, Attorney
505 W. 9" St. #100
Sioux Falls, SD 57104

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Gary W. Conklip’, Attorney for Steven Craig Alexander

